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Attorneys for Plaintiff David B. Greenberg

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DAVID B. GREENBERG,
an individual,

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Case No. CV09-05273 SJO (RCx)

Plaintiff, FIRST AMENDED CIVIL
VS. COMPLAINT FOR:

TIMOTHY P. FLYNN, an individual; 1. MALICIOUS PROSECUTION;

CLAUDIA TAFT, an individual;

 

JOSEPH LOONAN, an individual; 2. INTENTIONAL INFLICTION
DENNIS MALLOY, an individual; ‘OF EMOTIONAL DISTRESS;
JOHN S. CHOPACK, an individual;
ERIN COLLINS, an individual; 3. BREACH OF FIDUCIARY
DIANE FULLER, an individual; DUTY;
MARK ELY, an individual; and
ANDREW GANTMAN, an individual, ) 4. FRAUDULENT
CONCEALMENT; AND
Defendants.
5. CIVIL CONSPIRACY
[DEMAND FOR TRIAL BY JURY]
Plaintiff David B. Greenberg alleges
JURISDICTION
1. This Court has subject matter jurisdiction in this action pursuant to

28 U.S.C. § 1332(a) in that more than $75,000.00 is at issue in this action,

 

FIRST AMENDED COMPLAINT

 
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exclusive of interest and costs, and there is diversity of State citizenship between

Plaintiff, on the one hand, and each of the Defendants, on the other hand.

VENUE
2. The claims set forth in this Complaint arise from and/or are related to
Plaintiff's prior employment with KPMG LLP in the County of Los Angeles, State
of California. Greenberg is informed and believes and thereon alleges that each of
the defendants named in this action are current or former partners of KPMG LLP,

or are professionals employed by KPMG LLP.

PARTIES

3. Plaintiff David B. Greenberg (“Greenberg”) is an individual resident
in the County of Palm Beach, State of Florida.

4. Non-party KPMG LLP (“KPMG”) is a limited liability partnership
organized and existing under the laws of the State of Delaware with its principal
place of business in the City of New York, State of New York. KPMG is one of
the Big 4 accounting firms.

5. | KPMG is a member of non-party KPMG International, a Swiss
cooperative under which accounting firms around the world operate using the trade
name “KPMG”.

6. | Greenberg is informed and believes and thereon alleges that
Defendant Timothy P. Flynn is, or at least at all times relevant herein was, an
individual employed as a partner of KPMG, the Chairman of KPMG, and the
Chairman of KPMG International employed in KPMG’s offices located in New
York, New York. Greenberg is further informed and believes and thereon alleges

that Defendant Flynn engaged in material acts or omissions in, or which had a

 

-2- FIRST AMENDED COMPLAINT

 
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foreseeable effect in, this judicial district and which were a proximate cause of the
damages suffered by Greenberg as alleged in this complaint.

7. Greenberg is informed and believes and thereon alleges that
Defendant Claudia Taft is, or at least at all times relevant herein was, an individual
employed as a partner of KPMG in its office located in New York, New York, and
that Defendant Taft engaged in material acts or omissions in, or which had a
foreseeable effect in, this judicial district and which were a proximate cause of the
damages suffered by Greenberg as alleged in this complaint.

8. Greenberg is informed and believes and thereon alleges that
Defendant Joseph Loonan is, or at least at all times relevant herein was, an
individual employed by KPMG in its office located in New York, New York, and
that Defendant Loonan engaged in material acts or omissions in, or which had a
foreseeable effect in, this judicial district and which were a proximate cause of the
damages suffered by Greenberg as alleged in this complaint.

9. Greenberg is informed and believes and thereon alleges that
Defendant Dennis Malloy is, or at least at all times relevant herein was, an
individual employed as a partner of KPMG in its office located in Los Angeles,
California, and that Defendant Malloy engaged in material acts or omissions in, or
which had a foreseeable effect in, this judicial district and which were a proximate
cause of the damages suffered by Greenberg as alleged in this complaint.

10. | Greenberg is informed and believes and thereon alleges that
Defendant John Chopack is, or at least at all times relevant herein was, an
individual employed as a partner of KPMG in its office located in New York, New
York, and that Defendant Chopack engaged in material acts or omissions in, or
which had a foreseeable effect in, this judicial district and which were a proximate

cause of the damages suffered by Greenberg as alleged in this complaint.

 

-3- FIRST AMENDED COMPLAINT

 
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11. Greenberg is informed and believes and thereon alleges that
Defendant Erin Collins is, or at least at all times relevant herein was, an individual
employed as a partner of KPMG in its office located in Los Angeles, California,
and that Defendant Collins engaged in material acts or omissions in, or which had
a foreseeable effect in, this judicial district and which were a proximate cause of
the damages suffered by Greenberg as alleged in this complaint.

12. Greenberg is informed and believes and thereon alleges that
Defendant Diane Fuller is, or at least at all times relevant herein was, an individual
employed as a partner of KPMG in its office located in New York, New York,
California, and that Defendant Fuller engaged in material acts or omissions in, or
which had a foreseeable effect in, this judicial district and which were a proximate
cause of the damages suffered by Greenberg as alleged in this complaint.

13. Greenberg is informed and believes and thereon alleges that
Defendant Mark Ely is an individual presently employed by The Taarp Group LLP
in Rockville, Maryland; that Defendant Ely was at all times relevant herein was
previously employed as a partner of KPMG in its office located in Washington
D.C.; and that Defendant Ely engaged in material acts or omissions in, or which
had a foreseeable effect in, this judicial district and which were a proximate cause
of the damages suffered by Greenberg as alleged in this complaint.

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-4- FIRST AMENDED COMPLAINT

 
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14. Greenberg is informed and believes and thereon alleges that
Defendant Andrew Gantman is an individual employed as a partner of
SingerLewak, LLP, in Woodland Hills, California; that Defendant Gantman was at
all times relevant herein previously employed by KPMG in its office located in Los
Angeles, California; and that Defendant Gantman engaged in material acts or
omissions in, or which had a foreseeable effect in, this judicial district and which
were a proximate cause of the damages suffered by Greenberg as alleged in this
complaint.

15. Defendants Flynn, Taft, Loonan, Malloy, Chopack, Collins, Fuller,
Ely, and Gantman are collectively referred to in this complaint as “Defendants”.

16. Greenberg is informed and believes and thereon alleges that, in doing
the acts alleged in this complaint, each defendant was the principal, agent,
representative, employee, partner, joint venturer, and/or co-conspirator of each of
the other defendants and did such acts with the knowledge, prior consent,
instruction, approval, and/or subsequent ratification of each of the other

defendants.

FACTUAL BACKGROUND

17. Greenberg earned a Masters Degree in Accounting and was at all
times relevant herein qualified in the State of California as a Certified Public
Accountant.

18. Greenberg first joined KPMG in 1989 and voluntarily left the firm
in 1994 to pursue other endeavors.
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-5- FIRST AMENDED COMPLAINT

 
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19. Greenberg rejoined KPMG in its Los Angeles, California, office in the
Spring of 1999. KPMG categorized Greenberg as a “Senior Manager” until the
management committee met several weeks later and re-categorized Greenberg as a
“Class B Partner.”

20. Against his expressly stated desires, Greenberg was assigned to work
in the Stratecon practice group in KPMG’s Los Angeles office.

21. KPMG assigned the Stratecon practice group the task of devising and
marketing tax avoidance and deferral products to high net worth corporate clients.

22. The pervasive firm culture at KPMG was to maximize its profits,
oftentimes at the expense of professional ethics and obligations to clients. In the
tax division, which was one of the three major divisions within KPMG, a
significant focus was placed on devising and marketing aggressive tax avoidance
strategies.

23. KPMG asa whole, from its Board of Directors and Management
Committee on down throughout the partnership, was aware that the tax avoidance
strategies were extremely profitable due to the large fees that could be charged and
the relatively minimal amount of work that was necessary. KPMG specifically
approved of the marketing of those tax avoidance strategies. For example, the
official KPMG training manual included a section on devising an abusive real
estate tax shelter for a fictional company referred to as “Bronson Realty, Inc.”

24. Tax shelter work was an integral part of KPMG and the services that it
offered to its clients.

25. Greenberg is informed and believes and thereon alleges that many of
KPMG’s largest clients, including Citibank, Fannie May, New Century, RGI,
Occidental Petroleum, Ryder International, AIG, Goldman Sachs and its mutual

funds, Berkshire Hathaway, Bank of America, Worldcom, Washington Mutual,

 

-6- FIRST AMENDED COMPLAINT

 
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and Countrywide Financial, participated in, and will testify in this action that they
participated in, abusive tax shelters created and marketed by KPMG.

26. Greenberg was informed that the tax products with which Greenberg
was involved at KPMG were known throughout the partnership and were approved
at the highest levels of KPMG management. Greenberg was informed that, within
KPMG, the Washington National Tax office (“WNT”) and KPMG’s Department of
Professional Practice (“DPP”), which is KPMG’s professional oversight office,
approved all of the tax products that were devised and marketed by KPMG and
were well aware of the tax investment strategies in which Greenberg was involved.

27. Greenberg relied on the representations, conclusions, and opinions of
KPMG management, the expert KPMG tax personnel above him, WNT, and DPP,
and Greenberg also independently believed, that all tax products in which
Greenberg was involved were lawful and were “more likely than not” to be
ultimately upheld as lawful tax strategies.

28. Greenberg later learned after he had ceased issuing tax strategy
opinions for KPMG there had been some differences of opinion voiced within the
upper ranks of KPMG concerning the viability of the tax shelters being marketed
by KPMG-although that information had been concealed from Greenberg.
Greenberg is nevertheless informed and believes that the majority of experts at
KPMG who reviewed the tax products on which Greenberg worked concluded that
they were “more likely than not” to be upheld as lawful tax strategies.

29. In 2002 the Internal Revenue Service (“IRS”) began issuing
summonses to KPMG in an investigation into the marketing of abusive tax
shelters.

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-7- FIRST AMENDED COMPLAINT

 
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30. Greenberg is informed and believes and thereon alleges that, in or
about 2002, Mike Hamersley was a senior manager in KPMG’s office in Los
Angeles.

31. Greenberg is now informed and believes and thereon alleges that Mr.
Hamersley had been actively involved in promoting illegal abusive tax shelters at
KPMG.

32. Greenberg is informed and believes and thereon alleges that, in early
2002, having learned that the IRS had commenced its investigation of abusive tax
shelters, Mr. Hamersley commenced a deliberate course of conduct to distract
attention from the tax shelter work in which he had been engaged.

33. Greenberg is informed and believes and thereon alleges that Mr.
Hamersley was also unhappy that he had not been named a partner in KPMG and
that he partially blamed Greenberg for not being admitted to the KPMG
partnership.

34. Greenberg is informed and believes and thereon alleges that, in order
to advance his agenda, Mr. Hamersley falsely reported to KPMG management that
Greenberg was engaged in marketing illegal abusive tax shelters.

35. Greenberg is informed and believes and thereon alleges that, as a
result of Mr. Hamersley’s false and vindictive allegations to KPMG management,
in June, 2002, KPMG initiated a six-month long investigation of Greenberg. The
investigation included a detailed search of Greenberg’s background and having
private investigators follow Greenberg and his family.

36. The investigation was completed in December, 2002, and Greenberg
was informed by KPMG that the investigation had been concluded satisfactorily in

his favor.

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-8- FIRST AMENDED COMPLAINT

 
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37. Disgusted with the manner in which he had been treated in connection
with the KPMG investigation, Greenberg tendered his resignation to KPMG in
February 2003.

38. Once Greenberg tendered his resignation, severance discussions
commenced between Greenberg and KPMG.

39. Defendant Taft was responsible for negotiating the severance
agreement between KPMG and Greenberg. During those negotiations, Taft failed
to inform Greenberg of the IRS investigation, even though Taft was aware of that
investigation.

40. A written settlement agreement was entered into by and between
KPMG and Greenberg on or about September 5, 2003, in connection with
Greenberg’s departure from KPMG.

41. Those discussions were satisfactorily concluded and Greenberg’s
resignation from KPMG became retroactively effective as of August 31, 2003.

42. Had Greenberg been informed of the IRS investigation by Taft,
KPMG, or any of the other KPMG partners—including Defendants—Greenberg
would have insisted that KPMG expressly agree to defend and indemnify him in
connection with the investigation and any related actions. Because that
information was wrongfully withheld from Greenberg, however, the severance
agreement is silent on the issue.

43. Later in 2003, the United States Senate commenced its investigation
into the tax shelter industry.

44. KPMG and its partners—including Defendants—refused to fully
cooperate in the IRS and Senate investigations and intentionally withheld evidence.
KPMG’s conduct in those investigations was later “characterized by obstinance

and arrogance.”

 

-9- FIRST AMENDED COMPLAINT

 
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45. Greenberg is informed and believes and thereon alleges that Taft
initially intentionally attempted to deceive the IRS in its investigation of KPMG.

46. Greenberg is informed and believes and thereon alleges that, when
Taft’s attempts to deceive the IRS were revealed, Taft wrongfully attempted to
conceal her actions.

47. Greenberg is informed and believes and thereon alleges that Taft
failed to deal honestly and forthrightly with the IRS during its investigation by
parsing language and taking positions that relevant and discoverable information
was subject to the attorney-client privilege or was not responsive.

48. Greenberg is informed and believes and thereon alleges that, later in
the IRS investigation, Taft falsely claimed that she had no knowledge of
information that had been withheld from the IRS, notwithstanding her affirmative
previous actions to conceal such information from the IRS.

49. The actions of KPMG and its partners during the IRS investigation
came back to haunt it. In early February, 2004, the investigation was referred by
the IRS to the Department of Justice (“DOJ”), which then presented the case to the
Grand Jury for the Southern District of New York.

50. In early 2004, when it became apparent to KPMG and its partners that
the DOJ was moving toward criminally indicting the firm for tax fraud related
offenses, KPMG and its partners suddenly reversed position.

51. KPMG and its partners were aware that the earlier indictment of the
accounting firm Arthur Andersen LLP resulted in the complete destruction and
closure of that firm.

52. Three-quarters of KPMG’s practice consists of highly lucrative audit
work. KPMG and its partners knew that a criminal indictment would result in the

loss of a very substantial portion of that profitable audit work.

 

-10- FIRST AMENDED COMPLAINT

 
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53. Greenberg is informed and believes and thereon alleges that KPMG’s
largest audit clients, including Citibank, Fannie May, New Century, RGI, the
United States Treasury Department, the DOJ, the Federal Reserve, Occidental
Petroleum, Ryder International, AIG, Goldman Sachs and its mutual funds,
Berkshire Hathaway, Bank of America, Worldcom, IBM, Apple, Disney, Pixar,
Washington Mutual, and Countrywide Financial, will testify in this action that a
criminal indictment of KPMG would have caused them to cease using KPMG as
their auditor and/or tax advisor.

54. KPMG and its partners knew that a loss of its audit work due to an
indictment would destroy KPMG and became aware that their very survival was at
stake. No major financial services firm had ever survived a criminal indictment.

55. Greenberg is informed and believes and thereon alleges that KPMG
and its partners intentionally concealed its extensive abusive corporate tax shelter
work from the IRS and DOJ.

56. Greenberg is informed and believes and thereon alleges that KPMG
and its partners also sought to halt the DOJ investigation in an effort to prevent the
investigation and disclosure of the continuing audit fraud in which they were
engaged, and which continues to this day.

57. Greenberg is informed and believes and thereon alleges that KPMG
was complicit in obscuring the true financial condition of companies and
governmental agencies by approving off balance sheet transactions to conceal bad
debts and by approving accounting practices that did not result in a an accurate
representation of the clients’ finances.

58. Greenberg is informed and believes and thereon alleges that, in an
effort to satiate the DOJ and save themselves from further investigation of their tax

shelter activities and audit work, and in order to save themselves from a criminal

 

-11- FIRST AMENDED COMPLAINT

 
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indictment, KPMG and its partners—including the Defendants—made the deliberate
decision to instead wrongfully offer-up and sacrifice a number of its current and
former partners, including Greenberg.

59. Greenberg is informed and believes and thereon alleges that KPMG
and its partners—including Defendants—made the deliberate decision to do whatever
was necessary, and whatever the DOJ demanded, regardless of the truth of the
matter and regardless of the effects on KPMG’s current and former partners,
including Greenberg, to halt the DOJ investigation of its tax shelter work and to
ward off an indictment.

60. Inthe effort by KPMG and its partners—including Defendants—to
satiate the DOJ and avoid further investigation of their activities, even though tax
avoidance work and a tax avoidance mentality permeated every level of KPMG,
and even thought the tax avoidance work had been vetted and condoned at the very
highest levels of KPMG management, KPMG sought to minimize the firm-wide
role in tax avoidance and essentially falsely represented to the DOJ that the tax
strategies that had been marketed and sold were essentially the work of a rogue
group of employees and had been concealed from, and was unknown to, KPMG
management.

61. Greenberg is informed and believes and thereon alleges that, in its
effort to appease the DOJ, KPMG and its partners—including Defendants—made
false representations of material facts to the DOJ, and made other statements to the
DOJ recklessly without knowledge if they were true or not.

62. Greenberg is informed and believes and thereon alleges that, during
the DOJ investigation, Defendant Malloy lied to the DOJ about Greenberg’s
activities, notwithstanding that Malloy had reviewed and approved most of those

activities. Malloy lied when he denied reviewing Greenberg’s files; lied when he

 

-12- FIRST AMENDED COMPLAINT

 
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denied having substantial information in his own files regarding the client
investment strategies in which Greenberg was involved; and lied when he claimed
that Greenberg had concealed client files.

63. Malloy had access to all of the files related to the transactions on
which Greenberg had worked and also maintained his own files on the
transactions. Malloy knew that certain client files were maintained by Greenberg’s
secretary in a file cabinet adjacent to her work station as part of the normal course
of business, yet Malloy falsely claimed that these client files had been concealed
by Greenberg.

64. Greenberg is informed and believes and thereon alleges that, during
the DOJ investigation of KPMG, Defendant Chopack misrepresented Greenberg’s
activities to the DOJ by falsely claiming that Greenberg was involved with certain
illegal tax shelters. At the same time, Chopack concealed from the DOJ his own
extensive involvement in abusive tax shelters that he had promoted to his own
clients.

65. Greenberg refused to issue a tax opinion for a client that was
requested by Chopack while the KPMG investigation of Greenberg was underway
in 2002. Greenberg is informed and believes and thereon alleges that Chopack
later told the DOJ that the transaction was an illegal tax shelter in which Greenberg
had been involved. Att the time, however, Chopack had authorized the issuance of
a tax opinion by another KPMG partner when Greenberg refused to do so.

66. Greenberg is informed and believes and thereon alleges that, during
the DOJ investigation of KPMG, Defendant Ely lied to the DOJ and the Grand
Jury when describing tax shelter registration requirements and concealed his
involvement in the determination that KPMG tax shelter transactions did not need

to be registered.

 

-13- FIRST AMENDED COMPLAINT

 
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67. Ely falsely testified that SOS transactions were required to be
registered with the IRS as tax shelters, when the truth is Ely had earlier prepared an
internal KPMG memorandum stating that the law was clear under Internal Revenue
Code § 6111 that Short Option Strategy (“SOS”) transactions were not required to
be registered.

68. Greenberg is informed and believes and thereon alleges that
Defendant Collins lied to the DOJ about Greenberg to conceal her extensive
involvement in helping a taxpayer obtain hundreds of millions of dollars in BLIPs
tax benefits and in an effort to appease the DOJ by appearing to be fully
cooperating.

69. Greenberg is informed and believes and thereon alleges that Collins
lied to the DOJ when she told the DOJ that she had little involvement with that
BLIPs client, notwithstanding that she had charged hundreds of hours of time, and
thousands of dollars of expenses, to that client; when she told the DOJ that
Greenberg had purchased a property for less than fair market value in and effort to
conceal the receipt of fees for tax strategy work; and when she told the DOJ that
she had asked Greenberg to stay away from her clients when Greenberg had
actually never had any contact with Collins.

70. | Greenberg is informed and believes and thereon alleges that
Defendant Fuller lied regarding the Spilsbury civil matter against KPMG when she
falsely testified under oath in a deposition that an e-mail was sent to Greenberg by
upper management to not issue SOS opinion letters, notwithstanding the fact that
no such e-mail was ever sent to Greenberg and notwithstanding that Fuller herself
led the charge at KPMG to promote the SOS tax shelter to KPMG clients,
including being the lead partner on forming formal alliances with two purported

independent promoters of the SOS tax shelter.

 

-14- FIRST AMENDED COMPLAINT

 
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71. On March 19, 2005, Defendant Loonan sent an e-mail message to Mr.
Barloon, one of the Skadden Arps lawyers for KPMG, stating that the statement of
facts that prosecutors wanted KPMG to use as its admission “is not of facts but of
conclusions based on some facts, distortions of facts and adverse inferences.”

72. Loonan referred to the statement of facts that KPMG would later
adopt as “false, misleading and unsupportable.” Adopting the words of a Kris
Kristofferson song when acknowledging that KPMG must nevertheless adopt the
statement of facts to save itself from indictment, Loonan wrote, “Freedom’s just
another word for nothing left to lose.”

73. Greenberg is informed and believes and thereon alleges that Mr.
Bennett, who was lead outside counsel for KPMG in its negotiations with the DOJ,
negotiated a proposed Statement of Facts with the DOJ. Greenberg is further
informed and believes and thereon alleges that KPMG, including the individuals on
its Board of Directors and Management Committee, affirmed the content of the
Statement of Facts, notwithstanding that they all knew the Statement of Facts
contained material false statements, knew there was no factual basis for many of
the material assertions that are set forth in the Statement, or affirmed the factual
statements with no reasonable basis for knowing if the statements were or were not
true.

74. Based on KPMG’s false and reckless statements and its agreement to
cooperate with the DOJ going forward, on or about August 26, 2005, the United
States Attorney’s Office for the Southern District of New York and KPMG entered
into a Deferred Prosecution Agreement (“DPA”), along with an accompanying
Statement of Facts.

75. KPMG consented to the filing of a one-count Information (which was

subsequently dismissed upon KPMG’s assumed compliance with the DPA). This

 

-15- FIRST AMENDED COMPLAINT

 
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Information charged KPMG with participating in a conspiracy to defraud the
United States and its agency the IRS to commit tax evasion, to make and subscribe
false and fraudulent tax returns, and to aid and assist in the preparation and filing
of said tax returns.

76. Within the DPA and the associated Statement of Facts, KPMG
accepted responsibility for violations of law. KPMG admitted, through the
conduct of certain KPMG tax leaders, partners, and employees, KPMG had
assisted high net worth United States citizens to evade United States individual
income taxes on billions of dollars in capital gain and ordinary income by
developing, promoting and implementing unregistered and fraudulent tax shelters.

77. As part of the DPA, KPMG agreed to pay a penalty to the United
States of $456 million.

78. In connection with the DPA, however, KPMG incredibly
simultaneously negotiated an agreement with the Treasury Department that KPMG
would be retained as the auditor for the Treasury Department’s twelve bureaus,
which account for $6.9 trillion in assets and is KPMG’s largest audit client.

79. The importance of KPMG maintaining its position as the Treasury
Department’s auditor, which it was believed would demonstrate to other clients
that KPMG could still be trusted notwithstanding the DPA, is evidenced by Mr.
Bennett’s statement on behalf of KPMG to the DOJ that, if KPMG was allowed to
keep all of its government audits, “We will do everything we can to help you
indict these partners.”

80. Greenberg is informed and believes and thereon alleges that Flynn,
Loonan, Taft, and Chopack instructed KPMG’s attorneys at Skadden Arps, who
were representing KPMG in connection with the DOJ investigation, to inform the

DOJ that, as long as KPMG would not be indicted and would be allowed to retain

 

-16- FIRST AMENDED COMPLAINT

 
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its hundreds of government audits, KPMG would do everything possible to help
the DOJ indict Greenberg, regardless of the true facts, which KPMG concealed
from the DOJ.

81. KPMG’s promise to the DOJ to assist it in obtaining indictments of
the KPMG partners was fulfilled. As a result of the actions of KPMG, its Board of
Directors, Management Committee, partners—including Defendants, and employees
as set forth herein and as will be proven at trial, Greenberg was named on October
17, 2005, in a superseding indictment in the criminal case in the Southern District
of New York entitled United States v. Stein, et al., S1 05 Crim. 0888 (LAK).
Greenberg was arrested and incarcerated the same day.

82. The indictment against Greenberg arose directly from the course and
scope of his employment with KPMG.

83. The allegations against Greenberg in the superseding indictment
closely mirror the purported “facts” that KPMG had provided in its Statement of
Facts to the DOJ.

84. Prior to the events that occurred as set forth in this complaint,
Greenberg had never been arrested, had never been convicted of any crime other
than minor traffic infractions, had never been the subject any disciplinary action by
the California State Board of Accountancy, and had never been accused of any
improper conduct or investigated by any regulatory authority.

85. Prior to trial, Greenberg was incarcerated for five months in the
Federal Detention Facility in New York City.

86. For aman who had never been arrested before, Greenberg was
repeatedly subjected to the indignity of being compelled to strip naked and submit
to complete body and body cavity searches in the presence of other prisoners.

Greenberg was forced to share a large cell with up to thirty other prisoners.

 

-17- FIRST AMENDED COMPLAINT

 
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Greenberg was subjected to physical assaults by other prisoners due to his Jewish
ancestry and endured taunting by guards in the Prison because of his status as a
Jewish white collar inmate. Greenberg was forced to fight other prisoners to avoid
being sexually assaulted. Greenberg witnessed the sexual assault of other prisoners
and deadly assaults between prisoners with make-shift weapons and felt
continually threatened. Greenberg was forced to live with the constant stench of
vomit, compelled to consume food that he did not find suitable for animal
consumption, and relieve himself of body wastes in full view of the other
prisoners.

87. When Greenberg was finally released on bail in April, 2006, after
almost six months of confinement, he was placed on house arrest with a monitoring
bracelet strapped to his ankle. For the next 2-1/2 years, Greenberg was ordered to
reside, at great expense, in the borough of Manhattan. Greenberg continued to
exist as a prisoner confined by Court Order to his residence, his lawyer’s offices, or
the courthouse.

88. Following a trial by jury, on December 18, 2008, Greenberg was

| acquitted on all charges.

89. As aresult of the actions of Defendants, and each of them, as set forth
herein and as will be proven at trial, Greenberg lost over three years of freedom
and has suffered severe physical and emotional distress.

90. As aresult of the actions of Defendants, and each of them, as set forth
herein and as will be proven at trial, the California State Board of Accountancy
revoked Greenberg’s license to practice accounting, thus preventing his ability to
work post-acquittal as an accountant.

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-18- FIRST AMENDED COMPLAINT

 
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FIRST CLAIM FOR RELIEF
(Against all Defendants for Malicious Prosecution)

91. Greenberg refers to paragraphs 1 through 90, inclusive, and
incorporates those allegations herein by this reference.

92. Greenberg alleges that Defendants, and each of them, by their acts and
omissions as set forth herein, intentionally and wrongfully caused a criminal
proceeding to be brought against Greenberg.

93. Greenberg alleges that, but for the actions of Defendants, and each of
them, as set forth herein, the criminal proceeding would not have been brought
against Greenberg.

94. Greenberg alleges that Defendants, and each of them, were actively
involved in causing Greenberg to be criminally prosecuted or in causing the
continuation of the prosecution against him.

95. The criminal proceeding ended in Greenberg’s favor following a
determination on the merits.

96. Greenberg alleges that no reasonable person in the same
circumstances as Defendants, and each of them, would have believed that there
were legitimate grounds for causing Greenberg to be indicted, arrested, and
prosecuted.

97. Greenberg alleges that Defendants, and each of them, acted primarily
for a purpose other than to bring Greenberg to justice.

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-19- FIRST AMENDED COMPLAINT

 
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98. As aresult of the acts and omissions of Defendants, and each of them,
as set forth herein, Greenberg has incurred damages in the form of attorneys’ fees,
costs, and lost income in an amount subject to proof at the time of trial, but which,
to date, exceed $10 million. Greenberg has also suffered from severe physical and
emotional distress as a result of the acts and omissions of Defendants, and each of
them, as set forth herein.

99. Greenberg is informed and believes and thereon alleges that, in doing
the acts alleged herein, Defendants, and each of them, acted in conscious and
intentional disregard for Greenberg’s rights and acted with oppression, fraud,
and/or malice so as to entitle Greenberg to recover punitive and exemplary
damages against Defendants, and each of them, in an amount deemed by the trier
of fact to be sufficient to punish, deter, and make an example of Defendants, and

each of them.

SECOND CLAIM FOR RELIEF
(Against all Defendants for Intentional Infliction of Emotional Distress)

100. Greenberg refers to paragraphs 1 through 90, inclusive, and
incorporates those allegations herein by this reference.

101. Greenberg is informed and believes and thereon alleges that
Defendants, and each of them, intended to cause severe physical and emotional
distress to Greenberg, or acted in reckless disregard in causing severe physical and
emotional distress to Greenberg.

102. The acts and omissions of Defendants, and each of them, as set forth
herein were outrageous and went far beyond the bounds of human decency.

103. Greenberg suffered severe physical and emotional distress as a result

of the acts and omissions of Defendants, and each of them.

 

- 20 - FIRST AMENDED COMPLAINT

 
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104. Asaresult of the acts and omissions of Defendants, and each of them,
as set forth herein, Greenberg has incurred damages in the form of attorneys’ fees
and costs in an amount subject to proof at the time of trial, but which, to date,
exceed $10 million. Greenberg has also suffered from severe physical and
emotional distress as a result of the acts and omissions of Defendants, and each of
them, as set forth herein.

105. Greenberg is informed and believes and thereon alleges that, in doing
the acts alleged herein, Defendants, and each of them, acted in conscious and
intentional disregard for Greenberg’s rights and acted with oppression, fraud,
and/or malice so as to entitle Greenberg to recover punitive and exemplary
damages against Defendants, and each of them, in an amount deemed by the trier
of fact to be sufficient to punish, deter, and make an example of Defendants, and

each of them.

THIRD CLAIM FOR RELIEF
(Against all Defendants except Defendant Gantman
for Breach of Fiduciary Duty)

106. Greenberg refers to paragraphs 1 through 90, inclusive, and
incorporates those allegations herein by this reference.

107. To the extent that Greenberg was a “partner” of KPMG under the laws
of the State of Delaware where KPMG is organized, Defendants, and each of them,
were Greenberg’s partners or otherwise owed fiduciary duties to Greenberg.

108. Defendants, and each of them, owed Greenberg fiduciary duties of
loyalty.

109. Defendants, and each of them, breached their fiduciary duties to

Greenberg by engaging in the acts and omissions set forth herein.

 

-21- FIRST AMENDED COMPLAINT

 
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110. The acts and omissions of Defendants, and each of them, as set forth
herein were a substantial factor in causing the damages suffered by Greenberg.

111. As aresult of the acts and omissions of Defendants, and each of them,
as set forth herein, Greenberg has incurred damages in the form of attorneys’ fees
and costs in an amount subject to proof at the time of trial, but which, to date,
exceed $10 million. Greenberg has also suffered from severe physical and
emotional distress as a result of the acts and omissions of Defendants, and each of
them, as set forth herein.

112. Greenberg is informed and believes and thereon alleges that, in doing
the acts alleged herein, Defendants, and each of them, acted in conscious and
intentional disregard for Greenberg’s rights and acted with oppression, fraud,
and/or malice so as to entitle Greenberg to recover punitive and exemplary
damages against Defendants, and each of them, in an amount deemed by the trier
of fact to be sufficient to punish, deter, and make an example of Defendants, and

each of them.

FOURTH CLAIM FOR RELIEF
(Against all Defendants except Defendant Gantman for Fraudulent Concealment)

113. Greenberg refers to paragraphs 1 through 90, inclusive, and
incorporates those allegations herein by this reference.

114. To the extent that Greenberg was a “partner” of KPMG under the laws
of the State of Delaware where KPMG is organized, Defendants, and each of them,
were Greenberg’s partners and acted in concert through the KPMG partnership.

115. Defendants, and each of them, owed Greenberg fiduciary duties of
loyalty.

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-22- FIRST AMENDED COMPLAINT

 
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116. Defendants, and each of them, concealed and failed to inform

Greenberg of the material facts set forth herein.

117. Greenberg had no independent knowledge of the facts that had been
concealed from him.

118. The omissions of Defendants, and each of them, as set forth herein
were intended to, and did, deceive Greenberg.

119. Greenberg justifiably relied on the deception of Defendants, and each
of them.

120. The omissions of Defendants, and each of them, as set forth herein
were a substantial factor in causing the damages suffered by Greenberg.

121. As aresult of the omissions of Defendants, and each of them, as set
forth herein, Greenberg has incurred damages in the form of attorneys’ fees and
costs in an amount subject to proof at the time of trial, but which, to date, exceed
$10 million. Greenberg has also suffered from severe physical and emotional
distress as a result of the omissions of Defendants, and each of them, as set forth
herein.

122. Greenberg is informed and believes and thereon alleges that
Defendants, and each of them, acted in conscious and intentional disregard for
Greenberg’s rights and acted with oppression, fraud, and/or malice so as to entitle
Greenberg to recover punitive and exemplary damages against Defendants, and
each of them, in an amount deemed by the trier of fact to be sufficient to punish,
deter, and make an example of Defendants, and each of them.

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- 23 - FIRST AMENDED COMPLAINT

 
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FIFTH CLAIM FOR RELIEF
(Against all Defendants for Civil Conspiracy)

123. Greenberg refers to paragraphs 1 through 90, inclusive, and
incorporates those allegations herein by this reference.

124. Greenberg is informed and believes and thereon alleges that
Defendants, and each of them, conspired with each other, and/or were aware of the
common goal of the conspiracy.

125. Greenberg is informed and believes and thereon alleges that the
common goal of the conspiracy was to see Greenberg indicted, arrested, jailed,
tried, convicted, and imprisoned, even though Defendants, and each of them, knew
or should have known that Greenberg had committed no crime.

126. Greenberg is informed and believes and thereon alleges that
Defendants, and each of them, engaged in the acts and omission set forth herein in
furtherance of the conspiracy.

127. Asa result of the acts and omissions of Defendants, and each of them,
as set forth herein, Greenberg has incurred damages in the form of attorneys’ fees
and costs in an amount subject to proof at the time of trial, but which, to date,
exceed $10 million. Greenberg has also suffered from severe emotional distress as
a result of the acts and omissions of Defendants, and each of them, as set forth
herein.

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128. Greenberg is informed and believes and thereon alleges that, in doing
the acts alleged herein, Defendants, and each of them, acted in conscious and
intentional disregard for Greenberg’s rights and acted with oppression, fraud,
and/or malice so as to entitle Greenberg to recover punitive and exemplary
damages against Defendants, and each of them, in an amount deemed by the trier
of fact to be sufficient to punish, deter, and make an example of Defendants, and

each of them.

PRAYER FOR RELIEF

WHEREFORE, Greenberg prays for judgment against Defendants, and each
of them, as follows:

1. For reimbursement of the attorneys’s fees and costs incurred by
Greenberg in defending himself in the criminal action, which sum shall be subject
to proof at the time of trial, but which is an amount in excess of $10,000,000.00;

2. For pain, suffering, and severe physical and emotional distress;

3. For lost wages and income, and for future lost earnings potential,
which sum shall be subject to proof at the time of trial, but which is an amount in
excess of $20,000,000.00;

4. For punitive and exemplary damages in an amount deemed by the trier
of fact to be sufficient to punish, deter, and make an example of Defendants, and

each of them;

5. For pre-judgment interest at the maximum rate permitted by law on all
liquidated damages;

6. For costs of suit incurred herein; and
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-25- FIRST AMENDED COMPLAINT

 
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7. For such other and further relief as the Court may deem just and

proper.

DATED: October 1, 2009

LGI Lip
LAWYERS GROUP INTERNATIONAL

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Bradley A. Patterson

Attorneys for Plaintiff David B. Greenberg

 

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FIRST AMENDED COMPLAINT

 
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1 DEMAND FOR TRIAL BY JURY
9 Plaintiff David B. Greenberg requests a trial by jury on all legal claims
3 || asserted in this action.
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5 | DATED: October 1, 2009 LGI Lip
LAWYERS GROUP INTERNATIONAL
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7 By OLS OSsu6
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